
Pennington, J.
I do not consider the indenture as binding by the father, but that the son bound himself by *297the consent of the father. But I think that the assent of the father, by his signature to the instrument, was at all events complete evidence that he assented to [533] his son living with the master in the capacity of an apprentice, and repels the presumption of a contract for wages.
By the Court.
We are all of opinion, that the action below cannot be maintained; although it may be that the indenture is void as it respects the apprentice himself, for the want of inserting the age of the apprentice in the indenture, yet it is only void as against the apprentice. But suppose it was wholly void as an indenture, yet it is complete evidence of the assent of the father to the son’s living with the defendant below in the capacity of an apprentice. We are therefore of opinion, that the judgment below is founded in error.
Let it be reversed.
